     Case 20-41243-BSK           Doc 79      Filed 10/17/24 Entered 10/17/24 15:06:03                  Desc Main
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                                                                                                              ucdef (05/13)
                                   UNITED STATES BANKRUPTCY COURT
                                            District of Nebraska


In Re:

         Randall R. Gengenbach and Mary J. Gengenbach Bankruptcy Proceeding No. 20−41243−BSK
                                                      Chapter 12
         Debtor(s)
                                                      Judge: Brian S. Kruse

                                       DEFICIENCY NOTICE
                             REGARDING REQUEST FOR UNCLAIMED FUNDS

All Requests for Payment of Unclaimed Funds, which have been deposited with the Court pursuant to 11 U.S.C. §
347(a), Fed. R. Bankr. P. 3010 or Fed. R. Bankr. P. 3011, shall be filed in accordance with the procedures established
by the Court which are available in the Clerk's office and on the Court's website at
www.neb.uscourts.gov/unclaimed−funds.

Unclaimed funds will not be released without an order signed by the Chief Judge of the Bankruptcy Court.
    This request will be deemed stricken within 14 days unless the following items are provided.
    Your request must be resubmitted to the Court in its entirety with the cured deficiencies.

The items checked below are deficient:

     Current name and address of the claimant
     Exact amount of the claim
     Power of Attorney or Assignment
     Notarized signature of the claimant
     Proof of service must be filed with this Court indicating that notice of all documents have been mailed to the
     United States Attorney, Attn: Douglas R. Semisch, 1620 Dodge St., #1400, Omaha, NE 68102−1506
     Identification documents for individuals (A photocopy of the claimant's current driver's license, state ID card or
     passport).
     Documents showing complete chain of progression from one company to the next.
     Notarized verification that the person signing the application has the authority to do so on behalf of the entity.
     Social Security Identification Number (Last four numbers)



Dated: 10/17/24
                                                             Susanne Bartmess
                                                             Deputy Clerk

Copies served by the court to:

Pioneer & PHI Financial Services, Inc., 7100 NW 62nd Ave. Box 1050, Johnston, IA 50131

Enc: Nebraska Instructions for Filing the Application for Payment of Unclaimed Funds.
